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                          UNITED STATES DISTRICT COURT FOR
                         THE WESTERN DISTRICT OF NEW YORK

  LACKAWANNA CHIROPRACTIC P.C., a                     Case No. 1:18-cv-00649-LJV-JJM
  New York professional corporation,
  individually and on behalf of all others
  similarly situated,
                                                      CLASS ACTION
                      Plaintiff,

                          v.

  TIVITY HEALTH SUPPORT, LLC, a
  Delaware limited liability company,

                     Defendant.


                                   NOTICE OF SETTLEMENT

       Plaintiff Lackawanna Chiropractic P.C. respectfully provides notice that the parties have

reached a settlement in principal. The parties anticipate filing a Notice of Dismissal of the action

with prejudice as to the Plaintiff’s individual claims within 30 days. The parties request that all

pending dates and filing requirements as to the parties be vacated and that the Court set a deadline,

thirty days from the present date for filing a dismissal of the action.

                                               Respectfully submitted,

Dated: December 13, 2021                       /s/ Avi R. Kaufman
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                                            Attorneys for Plaintiff and the Settlement Class

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 13, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, which is being served this day on all counsel

of record via transmission of Notice of Electronic Filing generated by CM/ECF.

                                                   /s/ Avi R. Kaufman




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